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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JEREMY MALONE,

 Defendant.                                              No. 09-30142-DRH

                                          ORDER

 HERNDON, Chief Judge:

               Now before the Court is Malone’s motion to allow Defendant to

 surrender to U.S. Marshals in Texas or in the alternative to extend self surrender

 date to August 27, 2010 (Doc. 53). Specifically, Defendant has asked that because

 he has insufficient funds at this time to travel to this judicial district to surrender

 that he be allowed to surrender in Texas or the Court extend the surrender date in

 this judicial district to August 27, 2010 to allow him time to obtain funds.

               As Malone’s doctor’s report indicates that there is nothing wrong with

 him, the Court finds there is not any medical condition amounting to exceptional

 circumstances exempting Malone from the operation of the bail statute. Further, it

 is clear that he does not have funds to travel to this judicial district to self surrender.

 Thus, the Court ORDERS Malone to report to FCI Seagoville, 2113 North Highway

 175 Seagoville, Texas 75159 by noon on Friday August 20, 2010 where he is to be

 detained pending classification by the BOP and then remanded to BOP for execution

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 of the judgment of incarceration issued by this Court.

             IT IS SO ORDERED.

             Signed this 19th day of August, 2010.


                                             /s/  DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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